        Case 1:14-cv-14184-MLW Document 130 Filed 11/05/18 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                           )
 JOHNSON KHATH, on behalf of himself )
 and all other persons similarly situated, )
                                           )
         Plaintiff,                        )
                                           )
                                                       Civil Action No. 14-14184-MLW
 v.                                        )
                                           )
 MIDLAND FUNDING, LLC.                     )
                                           )
         Defendant.                        )
                                           )
                                           )
 VIRGINIA NEWTON, on behalf of himself )
 and all other persons similarly situated, )
                                           )
         Plaintiff,                        )
                                           )
                                                       Civil Action No. 16-10727-MLW
 v.                                        )
                                           )
 MIDLAND FUNDING, LLC.                     )
                                           )
         Defendant.                        )
                                           )



                                 NOTICE OF SETTLEMENT

       The parties hereby notify the Court that they have reached an agreement in principle to

resolve the above-captioned actions, and request that the Court issue a 60-day settlement order of

dismissal.
          Case 1:14-cv-14184-MLW Document 130 Filed 11/05/18 Page 2 of 3




Respectfully submitted,                     Respectfully submitted,
Plaintiff,                                  Defendant,

JOHNSON KHATH                               MIDLAND FUNDING, LLC.
VIRGINIA NEWTON                             By its attorneys,
By their attorneys,
                                            /s/Gordon P. Katz (BBO #261080)
/s/ Kenneth D. Quat                         Benjamin M. McGovern (BBO #661611)
BBO#408640                                  Stephen P. Hall (BBO #679583)
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/s/ Josef C. Culik                          William T. Bogaert, BBO# 546321
Josef C. Culik                              Erik J. Tomberg, BBO# 669413
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Dated: November 5, 2018




                                        2
          Case 1:14-cv-14184-MLW Document 130 Filed 11/05/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

        I hereby certify that on November 5, 2018, this document was filed through the ECF system
and will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent those indicated as non-registered participants.

                                                        /s/Kenneth D. Quat




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